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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION


                                        )                  CHAPTER 7
 IN RE:                                 )
                                        )                  CASE NO. 09-61855-BEM
 TODD ANTHONY SHAW,                     )
                                        )
       Debtor.                          )
                                        )
                                        )
 S. GREGORY HAYS, as Chapter 7 trustee, )
                                        )
       Movant,                          )
                                        )
 v.                                     )                  CONTESTED MATTER
                                        )
 THE INTERNAL REVENUE SERVICE,          )
 SOUND EXCHANGE, INC., BROADCAST )
 MUSIC, INC., SONY MUSIC                )
 ENTERTAINMENT, BOBBY FRANK             )
 ELLERBEE, as Administer of ESTATE OF   )
 JAMES F. ELLERBEE, BOBBY FRANK         )
 ELLERBEE, THE GEORGIA DEPARTMENT )
 OF REVENUE, GUILFORD FOREST            )
 HOMEOWNERS ASSOCIATION, INC.,          )
 COLLECTIONS INC. OF SAN FRANCISCO )
 A CALIFORNIA CORPORATION, RONNIE )
 JACKSON, JR., and TODD ANTHONY SHAW, )
                                        )
       Respondents.                     )
                                        )

     NOTICE OF HEARING ON TRUSTEE’S MOTION FOR AUTHORITY TO SELL
        PROPERTY OF THE BANKRUPTCY ESTATE FREE AND CLEAR OF
              LIENS, CLAIMS, INTERESTS, AND ENCUMBRANCES


          PLEASE TAKE NOTICE that on May 1, 2023, S. Gregory Hays, as Chapter 7 Trustee

 (“Trustee”) for the bankruptcy estate (the “Bankruptcy Estate”) of Todd Anthony Shaw

 (“Debtor”), filed Trustee’s Motion for Authority to Sell Property of the Bankruptcy Estate Free
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 and Clear of Liens, Claims, Interests, and Encumbrances [Doc. No. 280] (the “Sale Motion”) and

 related papers with the Court, seeking, among other things, an order from the Court authorizing

 Trustee to sell the Bankruptcy Estate’s right, title, and interest in and to certain Transferred Assets 1

 under 11 U.S.C. §§ 363(b), (f), and (m), and Fed. R. Bankr. P. 2002(a)(2), 6004(a), 6004(c), and

 9014, to Reservoir Media Management, Inc. (the “Purchaser”), “as is, where is,” for a sale price

 of $7,550,000.00 (the “Purchase Price”), 2 subject to Bankruptcy Court approval (the “Sale

 Agreement”). A true and correct copy of the Sale Agreement is attached as Exhibit “A” to the

 Sale Motion and incorporated herein by reference. In the Sale Motion, Trustee also requests an

 order from the Court: (a) finding that Trustee and Purchaser have proceeded in good faith and that

 Trustee and Purchaser are entitled to the protections of 11 U.S.C. § 363(m); (b) authorizing Trustee

 to execute any documents necessary to consummate the proposed sale, assignment, and transfer of

 the Transferred Assets to Purchaser, including those documents attached to the Sale Agreement as

 Exhibits 1 through 10; (c) approving a Break-Up Fee, as more particularly described in the Sale

 Motion and in accordance with the terms of Section 10.03 of the Sale Agreement; (d) requiring

 the Payors (as defined in the Sale Agreement) to account and pay the applicable royalty payments

 and income (as specified in the Sale Motion) in respect of the Subject Compositions and Subject

 Recordings (as applicable) to Purchaser following the Closing Date, in accordance with the Sale




 1
        Capitalized terms not defined in this notice shall have the meanings ascribed to them in the
 Sale Agreement. The term Transferred Assets is defined at page 7 of the Sale Agreement.
 2
        As set out in the Sale Agreement, there will be a Holdback of $550,000.00 from the
 Purchase Price, and Trustee will keep and set-off any funds he has received since the Cash Date
 of October 1, 2022 against the Purchase Price such that the amount the Purchaser actually pays to
 Trustee will be reduced by the Post-Cash Date Pre-Closing Receipts that Trustee has received.


                                                    2
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 Agreement; and (e) authorizing the proposed sale to be consummated immediately as allowed by

 Federal Rules of Bankruptcy Procedure Rule 6004(h).

        Trustee estimates that the proposed sale will result in sufficient funds coming into the

 Bankruptcy Estate to allow Trustee to make a substantial distribution to holders of filed and

 remaining claims against the Bankruptcy Estate (if not pay them in full) and to make a very large

 surplus distribution to Debtor, in accordance with the Bankruptcy Code.

        PLEASE TAKE FURTHER NOTICE that although Trustee believes that the proposed

 sale is in the best interest of the Bankruptcy Estate and its creditors, Trustee invites any and all

 parties wishing to submit a competing cash bid, which exceeds the present Purchase Price, with

 no contingencies, and the ability to close within ten (10) days from Bankruptcy Court approval, so

 long as any such bid is filed with the Court in the form of an objection to the Sale Motion within

 two (2) business days of the Hearing (defined below).

        PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the Sale

 Motion on July 11, 2023 (the “Hearing”). The Court will hold an initial telephonic Hearing for

 announcements on the Sale Motion at the following number: 833-568-8864 US Toll-free Meeting

 ID: 160 862 0914 at 10:00 a.m. in Courtroom 1402, United States Courthouse, 75 Ted Turner

 Drive, S.W., Atlanta, Georgia.

        Matters that need to be heard further by the Court may be heard by telephone, by video

 conference, or in person, either on the date set forth above or on some other day, all as determined

 by the Court in connection with this initial telephonic hearing. Please review the “Hearing

 Information” tab on the judge’s webpage, which can be found under the “Dial-in and Virtual

 Bankruptcy Hearing Information” link at the top of the webpage for this Court,

 www.ganb.uscourts.gov for more information.


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        Your rights may be affected by the Court’s ruling on the Sale Motion. You should read

 Sale Motion carefully and discuss it with your attorney, if you have one in this bankruptcy case.

 (If you do not have an attorney, you may wish to consult one.). If you do not want the Court to

 grant the relief sought in the Sale Motion or if you want the Court to consider your views, then

 you and/or your attorney must attend the hearing. You may also file a written response to the Sale

 Motion with the Clerk at the address stated below, but you are not required to do so. If you file a

 written response, you must attach a certificate stating when, how and on whom (including

 addresses) you served the response. Mail or deliver your response so that it is received by the Clerk

 at least two (2) business days before the Hearing. The address of the Clerk’s Office is: Suite 1340

 Richard B. Russell Federal Building, 75 Ted Turner Drive, SW, Atlanta, Georgia 30303. You must

 also mail a copy of your response to the counsel for the Trustee, Michael J. Bargar, Rountree

 Leitman Klein & Geer LLC, Century Plaza I, 2987 Clairmont Road, Suite 350, Atlanta, GA 30329.

        Dated: May 1, 2023.
                                         ROUNTREE LEITMAN KLEIN & GEER LLC
                                         Attorneys for Trustee

                                         By:/s/ Michael J. Bargar
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